     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 1 of 23



 1   Jared Keenan (027068)
     Victoria Lopez (330042)
 2
     American Civil Liberties Union
 3   Foundation of Arizona
     3707 North 7th Street, Suite 235
 4   Phoenix, Arizona 85014
 5   Telephone: (602) 650-1854
     jkeenan@acluaz.org
 6   vlopez@acluaz.org
     Counsel for Plaintiffs
 7

 8   Jen Samantha D. Rasay, pro hac vice
     Center For Reproductive Rights
 9   1634 Eye Street, NW, Suite 600
10   Washington, DC 20006
     Telephone: (202) 628-0286
11   jrasay@reprorights.org
     Counsel for Paul A. Isaacson, M.D.,
12
     National Council of Jewish Women
13   (Arizona Section), Inc., and Arizona
     National Organization for Women
14

15   COUNSEL CONTINUED ON NEXT
16   PAGE

17
                         IN THE UNITED STATES DISTRICT COURT
18                           FOR THE DISTRICT OF ARIZONA
19   Paul A. Isaacson, M.D., on behalf of
20   himself and his patients, et al.,
                                                  Case No. 2:21-CV-1417-DLR
21                         Plaintiffs,
                                                  PLAINTIFFS’ EMERGENCY MOTION
22          v.                                    FOR AN INJUNCTION OF
                                                  INTERPRETATION POLICY
23   Mark Brnovich, Attorney General of           PENDING APPEAL AND
24   Arizona, in his official capacity; et al.,   MEMORANDUM OF POINTS AND
                                                  AUTHORITIES IN SUPPORT
25                         Defendants.
                                                  [EXPEDITED CONSIDERATION
26
                                                  REQUESTED]
27

28
      Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 2 of 23



 1   Jessica Leah Sklarsky, pro hac vice
     Gail Deady, pro hac vice
 2   Catherine Coquillette, pro hac vice
 3   Center For Reproductive Rights
     199 Water Street, 22nd Floor
 4   New York, NY 10038
 5   Telephone: (917) 637-3600
     jsklarsky@reprorights.org
 6   gdeady@reprorights.org
     ccoquillette@reprorights.org
 7   Counsel for Paul A. Isaacson, M.D.,
 8   National Council of Jewish Women
     (Arizona Section), Inc., and Arizona
 9   National Organization for Women
10   Alexa Kolbi-Molinas, pro hac vice
11   Rebecca Chan, pro hac vice
     American Civil Liberties Union
12   125 Broad Street, 18th Floor
13
     New York, NY 10004
     Telephone: (212) 549-2633
14   akolbi-molinas@aclu.org
     rebeccac@aclu.org
15   Counsel for Eric M. Reuss, M.D., M.P.H.,
16   and Arizona Medical Association

17   Beth Wilkinson, pro hac vice
     Anastasia Pastan, pro hac vice
18
     Wilkinson Stekloff LLP
19   2001 M Street, NW
     10th Floor
20   Washington, DC 20036
21   Telephone: (202) 847-4000
     bwilkinson@wilkinsonstekloff.com
22   apastan@wilkinsonstekloff.com
     Counsel for Paul A. Isaacson, M.D.,
23
     National Council of Jewish Women
24   (Arizona Section), Inc., and Arizona
     National Organization for Women
25

26

27

28
      Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 3 of 23



 1   Ralia Polechronis, pro hac vice
     Wilkinson Stekloff LLP
 2   130 West 42nd Street
 3   24th Floor
     New York, NY 10036
 4   Telephone: (212) 294-9410
 5   rpolechronis@wilkinsonstekloff.com
     Counsel for Paul A. Isaacson, M.D.,
 6   National Council of Jewish Women
     (Arizona Section), Inc., and Arizona
 7   National Organization for Women
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 4 of 23



 1          Pursuant to Federal Rule of Civil Procedure 62(c)–(d) and Federal Rule of Appellate
 2
     Procedure 8(a)(1), Plaintiffs respectfully move for a limited emergency injunction of the
 3
     “Interpretation Policy,” A.R.S. § 1-219, incorporating A.R.S. § 36-2151(16), pending
 4

 5   appeal of the Court’s Order, entered on September 28, 2021. Preliminary Injunction Order,

 6   ECF No. 52 (“PI Order”).
 7
            INTRODUCTION
 8
            The Supreme Court upended nearly 50 years of settled abortion jurisprudence in its
 9

10
     June 24 decision in Dobbs v. Jackson Women’s Health Organization, No. 19-1392

11   (“JWHO”). The dismantling of the long-held federal constitutional right to abortion has
12   unleashed chaos in Arizona, raising questions about whether the Interpretation Policy can
13
     now be used in conjunction with other laws to prosecute abortion providers and their
14
     patients even though dozens of Arizona laws expressly permit and regulate abortion care.
15

16   See, e.g., Meg O’Connor, Without Roe, Prosecutors Will Be the Abortion Police, The
17   Appeal (June 1, 2022), https://tinyurl.com/3dbakb4e (Maricopa County Attorney Rachel
18
     Mitchell “did not respond when asked if she would use the fetal personhood law to
19
     prosecute people who provide or obtain abortions.”).
20

21          Indeed, in September 2021, the Court asked Defendants whether the Interpretation
22   Policy could be used to subject an abortion provider to criminal prosecution under several
23
     Arizona statutory provisions. Defendants represented to the Court that “Supreme Court
24
     precedent as it currently exists,” Oral Argument Transcript at 84–85, ECF No. 61 (“Oral
25

26   Arg. Tr.”), is the only thing preventing the Interpretation Policy from being used to
27   criminalize or otherwise penalize abortion in any of those contexts.
28

                                                 -1-
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 5 of 23



 1          Now that this limitation has been rendered meaningless by JWHO, it is entirely
 2
     unclear whether the Interpretation Policy’s requirement that all Arizona statutes be
 3
     “interpreted and construed” to “acknowledge” the rights of fertilized eggs, embryos, and
 4

 5   fetuses at any stage of development, A.R.S. § 1-219(A), can be used to criminalize abortion

 6   care under several Arizona statutes. See, e.g., A.R.S. §§ 13-1204 (aggravated assault), 13-
 7
     1203 (assault), 13-1201 (reckless endangerment), 13-3612(1) & 13-1613 (contributing to
 8
     delinquency of a child), 13-3619 (child endangerment), and 13-3623 (child abuse).
 9

10   Exacerbating this lack of clarity is the host of Arizona laws heavily regulating how to

11   lawfully provide abortion care.
12
            Given the uncertainty and the threat of severe criminal, civil, and professional
13
     penalties, Plaintiffs Dr. Reuss and Dr. Isaacson have accordingly stopped providing
14

15   abortion care in Arizona because they are afraid the Interpretation Policy will be used to

16   prosecute them and potentially their patients for the provision or receipt of any abortion
17
     care. And, Drs. Isaacson and Reuss are not alone—eight out of nine licensed abortion
18
     providers suspended abortion services as of yesterday. See Taylor Seely & Stephanie Innes,
19

20   Fearing Criminal Charges, Clinics Across Arizona Have Stopped Providing Abortions,

21   Ariz. Republic (June 24, 2022), https://tinyurl.com/bdh9yap9. These reactions threaten the
22
     well-being of people throughout Arizona. Any delay in access to abortion care presents
23
     real and serious threats to patients’ health and, because abortion care is time-sensitive,
24

25   jeopardizes their ability to access abortion care altogether.

26          This Court invited Plaintiffs to seek relief “if a particular application of the
27
     Interpretation Policy restricts Plaintiffs’ activities ‘in some concrete way.’” PI Order at 8.
28

                                                  -2-
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 6 of 23



 1   That concrete harm now unquestionably exists in the context of abortion care, and Plaintiffs
 2
     seek limited emergency relief from the Interpretation Policy so that abortion care can be
 3
     provided while their appeal of this Court’s PI Order is pending before the Ninth Circuit.1
 4

 5          An injunction pending appeal is warranted here. First, there is a likelihood of

 6   success on the merits. Ample evidence shows that the Interpretation Policy should be struck
 7
     down as unconstitutionally vague as applied to abortion. While the Interpretation Policy
 8
     mandates that hundreds of civil and criminal provisions be “interpreted and construed” to
 9

10   “acknowledge” the rights of fertilized eggs, embryos, and fetuses at any stage of

11   development, A.R.S. § 1-219(A), it provides no guidance on what that means in the
12
     abortion context (or, indeed, in any context). Nor does it provide any standards to guide
13
     law enforcement officials or other state actors in applying any newly-created criminal
14

15   penalty, civil liability, or heightened legal duty in the abortion context . Put simply, the

16   vagueness doctrine prohibits the State from forcing Plaintiffs, their members, and their
17
     patients to guess whether or not the Interpretation Policy can be used to criminalize the
18
     receipt and provision of abortion care. Yet that is exactly what the State is doing.
19

20          Next, Plaintiffs are already being harmed by the concrete and significant threat that

21   the Interpretation Policy could now be construed to impose criminal, civil, and disciplinary
22
     sanctions for the provision or receipt of abortion care. Due to this uncertainty, Plaintiffs
23
     Dr. Isaacson and Dr. Reuss have no choice but to cease providing abortion care
24

25
     1
      Plaintiffs cross-appealed the Court’s denial of preliminary injunctive relief, ECF No. 65.
26
     Until yesterday, oral argument had been scheduled for July 27, 2022, however, in light of
27   JWHO, the Ninth Circuit requested supplemental briefing and took the appeal off the
     calendar. Order, Isaacson v. Brnovich, Nos. 16645, 16711 (9th Cir. June 24, 2022), Dkt.
28   No. 84.

                                                  -3-
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 7 of 23



 1   immediately, to the detriment of their patients.
 2
            The stakes have clearly changed. And this “particular application of the
 3
     Interpretation Policy” was not presented to the Court through Plaintiffs’ original facial
 4

 5   vagueness claim for injunctive relief, which this Court held was not ripe. PI Order at 8.

 6   This as-applied vagueness claim is ripe for this Court’s review, likely to succeed on the
 7
     merits, and seeks limited emergency injunctive relief pending Plaintiffs’ appeal so that
 8
     abortion care can be provided without the threat of prosecution—an interest that far
 9

10   outweighs the State’s in not enforcing a law while the courts assess its constitutionality.

11          FACTUAL BACKGROUND
12      A. The Interpretation Policy.
13
            The Interpretation Policy establishes a new statutory construction requirement that
14

15
     applies to the entire Arizona Revised Statutes. This application creates vast uncertainty for

16   Plaintiffs, their members, and their patients in Arizona about whether they could be subject
17   to criminal, civil, and other penalties for providing or receiving abortion care that would
18
     otherwise be legal under Arizona law. The Interpretation Policy provides:
19
            The laws of this State shall be interpreted and construed to acknowledge, on
20
            behalf of an unborn child at every stage of development, all rights, privileges
21          and immunities available to other persons, citizens and residents of this state,
            subject only to the Constitution of the United States and decisional
22          interpretations thereof by the United States Supreme Court.
23
     A.R.S. § 1-219. The Interpretation Policy incorporates the statutory definition of “unborn
24
     child” set forth in A.R.S. § 36-2151(16), which provides that an “unborn child” is “the
25

26   offspring of human beings from conception until birth,” where conception is statutorily

27

28

                                                  -4-
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 8 of 23



 1   defined as “the fusion of a human spermatozoon with a human ovum.”2 Accordingly, under
 2
     the Interpretation Policy, each time “person,” “child,” or similar words appear in the
 3
     Arizona Revised Statutes, they must be read to “acknowledge” comparable rights for
 4

 5   fetuses, embryos, and fertilized eggs at any stage of development.3

 6       B. The JWHO Decision Changes How Plaintiffs Provide Care.
 7
            The Supreme Court’s decision in JWHO stripped the right to abortion from the U.S.
 8
     Constitution. JWHO, No. 19-1392, slip op. at 1 (U.S. June 24, 2022). This created an
 9

10   immediate, real, and present threat that the Interpretation Policy could be construed to

11   impose criminal and civil liability on those who provide and receive abortion care in
12
     Arizona. Because of this threat, Plaintiffs Dr. Reuss and Dr. Isaacson have stopped
13
     providing all abortion care in Arizona as of June 24, 2022. Exhibit A, Declaration of Eric
14

15   M. Reuss, M.D., M.P.H. (“Reuss Decl.”) ¶¶ 13, 15; Exhibit B, Declaration of Paul A.

16   Isaacson, M.D. (“Isaacson Decl.”) ¶¶ 12–13, 15–16. The majority of other providers have
17
     done the same. See Seely & Innes, supra at 2. Dr. Isaacson’s and Dr. Reuss’s decision to
18
     stop providing care stems directly from their inability to ascertain how the Interpretation
19

20
     2
       Pregnancy does not begin until a fertilized egg implants in the uterus, “occurring about
21
     six days after fertilization.” Webster v. Reprod. Health Servs., 492 U.S. 490, 563 (1989)
22   (Stevens, J., concurring in part and dissenting in part). The statutory definition of “unborn
     child,” therefore, applies before pregnancy and incorporates fertilized eggs that have not
23   implanted in the uterus.
24   3
       The Interpretation Policy contains two exceptions. It “does not create a cause of action
25   against” (1) a “person who performs in vitro fertilization procedures as authorized” under
     Arizona law; or (2) a “woman for indirectly harming her unborn child by failing to properly
26
     care for herself or by failing to follow any particular program of prenatal care.” A.R.S. § 1-
27   219(B). Plaintiffs’ challenge also extends to this portion of the law. But it is not directly
     implicated by this emergency request for relief relating to abortion care. Plaintiffs maintain
28   their arguments in their original preliminary injunction motion and their appeal.

                                                  -5-
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 9 of 23



 1   Policy applies in the abortion context and their fears that a wrong guess could result in
 2
     criminal penalties for them, their staff, and potentially their patients. Isaacson Decl. ¶¶ 10,
 3
     12–15; Reuss Decl. ¶¶ 11–13, 15. The harm resulting to Dr. Reuss and Dr. Isaacson’s
 4

 5   patients cannot be understated; abortion is a time-sensitive medical procedure and many

 6   patients will undoubtedly suffer as a result of even a temporary cessation of abortion care.
 7
     For example, even if the Interpretation Policy is enjoined in a few weeks or months, and
 8
     abortions resume, patients may be at greater risk of medical complications or may lose
 9

10   access to abortion altogether as a result of the delay. Reuss Decl. ¶ 15. The fact that eight

11   out of the nine licensed providers in the state have ceased offering care only inflames these
12
     harms. See Seely & Innes, supra at 2.
13
            ARGUMENT
14
            In deciding whether to grant an injunction pending appeal, “the court considers
15

16   (1) whether the [injunction] applicant has made a strong showing that he is likely to
17   succeed on the merits; (2) whether the applicant will be irreparably injured absent a[n
18
     injunction]; (3) whether issuance of the [injunction] will substantially injure the other
19
     parties interested in the proceeding; and (4) where the public interest lies.” Humane Soc’y
20

21   of U.S. v. Gutierrez, 523 F.3d 990, 991 (9th Cir. 2008) (internal quotations and citation
22   omitted) (evaluating motion for injunction pending appeal under same standard as motion
23
     for stay pending appeal). When there are “‘serious questions going to the merits’” along
24
     with “a balance of hardships that tips sharply towards the plaintiff,” the issuance of an
25

26   injunction can be warranted, “so long as the plaintiff also shows that there is a likelihood
27   of irreparable injury and that the injunction is in the public interest.” All. for the Wild
28

                                                   -6-
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 10 of 23



 1   Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011). Here, Plaintiffs meet all four
 2
     requirements and the balance of hardships tips strongly in their favor.
 3
        C. Plaintiffs’ Vagueness Challenge As Applied to Abortion Care Raises Serious
 4         Questions of Law on Which Plaintiffs Are Likely to Prevail.
 5
        1. Plaintiffs’ Vagueness Claim as Applied to Abortion Care Is Ripe.
 6
            In denying Plaintiffs’ request for preliminary injunctive relief, this Court found
 7

 8   Plaintiffs’ pre-enforcement facial vagueness challenge unlikely to be ripe under the Court’s

 9   reading of Webster. PI Order at 8. However, the Court made clear that “federal courts stand
10
     ready to address any constitutional challenges as to [a] specific application,” “if a particular
11
     application of the Interpretation Policy restricts Plaintiffs’ activities ‘in some concrete
12

13   way.’” Id. In light of the Supreme Court’s decision in JWHO, Plaintiffs’ vagueness

14   challenge to the Interpretation Policy as applied specifically to abortion care is now ripe
15
     under any reading of Webster.
16
            Within this context, the Interpretation Policy’s failure to delineate what it means to
17

18   “acknowledge” the rights of a fertilized egg, embryo, or fetus, and the attendant risk of

19   arbitrary enforcement of the Interpretation Policy, is now forcing providers in Arizona to
20
     cease providing all abortion care immediately, notwithstanding that this care is and has
21
     been permitted under Arizona law, because the uncertain yet more concrete risk of
22

23   prosecution under the Interpretation Policy is simply too great. This risk is not an “abstract

24   proposition.” See PI Order at 8. As Defendants stated to this Court, they “believe” that the
25
     only thing preventing the Interpretation Policy from being used to prosecute abortion is
26
     “Supreme Court precedent as it currently exists.” Oral Arg. Tr. at 84–85. That precedent
27

28   has been overruled. JWHO, No. 19-1392, slip op. at 5 (U.S. June 24, 2022) (“We hold that

                                                   -7-
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 11 of 23



 1   Roe and Casey must be overruled.”).
 2
            In the absence of a federal right to abortion, the Interpretation Policy’s
 3
     “acknowledgment” mandate—as applied to abortion—poses an immediate threat to
 4

 5   Plaintiffs, their members, and their patients. Just as the Supreme Court in Webster stated

 6   that a federal court could address the Missouri preamble “should it be applied to restrict
 7
     the activities” of the plaintiffs “in some concrete way,” 492 U.S. at 506, this Court should
 8
     act to prevent the ongoing harms the Interpretation Policy poses to abortion care in Arizona.
 9

10      2. Plaintiffs’ Vagueness Claim as Applied to Abortion Care Is Likely to Succeed.

11          The void-for-vagueness doctrine guarantees that ordinary people have “fair notice”
12
     of the conduct a statute prescribes. Sessions v. Dimaya, 138 S. Ct. 1204, 1212 (2018)
13
     (quoting Papachristou v. City of Jacksonville, 405 U.S. 156, 162 (1972)). Additionally,
14

15   “the doctrine guards against arbitrary or discriminatory law enforcement by insisting that

16   a statute provide standards to govern the actions of police officers, prosecutors, juries, and
17
     judges.” Id. A law may be void for vagueness under either theory: lack of notice or lack of
18
     standards. FCC v. Fox Television Stations, Inc., 567 U.S. 239, 253 (2012). In the context
19

20   of abortion care, the Interpretation Policy fails on both counts.

21      a. The Most Stringent Standard of Review Is Warranted.
22
            As a threshold matter, the vagueness test is not applied mechanically. The “degree
23
     of vagueness that the Constitution tolerates . . . depends in part on the nature of the
24

25   enactment.” Women’s Med. Prof’l Corp. v. Voinovich, 130 F.3d 187, 197 (6th Cir. 1997)

26   (quoting Village of Hoffman Estates v. Flipside, Hoffman Ests., Inc., 455 U.S. 489, 498
27
     (1982)). And in making this assessment, laws subject to vagueness challenges must be
28

                                                  -8-
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 12 of 23



 1   considered in their context, and within the overall statutory scheme. See, e.g., In re Consol.
 2
     Freightways Corp. of Del., 564 F.3d 1161, 1165 (9th Cir. 2009); Manning v. Caldwell for
 3
     City of Roanoke, 930 F.3d 264, 273 (4th Cir. 2019). The Supreme Court has held that both
 4

 5   civil and criminal statutes directing the way other laws are to be interpreted can be struck

 6   down on vagueness grounds. Johnson v. United States, 576 U.S. 591, 600 (2015); Dimaya,
 7
     138 S. Ct. at 1223.
 8
            Here, where criminal penalties are at stake, a stringent standard of review is
 9

10   appropriate. See Hoffman Ests., 455 U.S. at 499 (finding a “relatively strict” test is required

11   where “criminal penalties are at stake”); McCormack v. Herzog, 788 F.3d 1017, 1031 (9th
12
     Cir. 2015) (“If a statute subjects violators to criminal penalties,” the due process need for
13
     definite standards “is even more exacting.”). Defendants concede that the Interpretation
14

15   Policy may be used to interpret “criminal provisions” within the Arizona Revised Statutes,

16   Oral Arg. Tr. 83:13–24, and has never claimed that the Interpretation Policy is precatory.
17
     Yet it is entirely unclear how the Interpretation Policy may be used to interpret Arizona’s
18
     criminal laws in the abortion context without the backstop of Roe.
19

20          Additionally, stringent vagueness review is not limited to criminal statutes; it also

21   applies to “quasi-criminal” laws, Hoffman Ests., 455 U.S. at 499. Even if the Interpretation
22
     Policy is not itself a penal statute, it is at minimum quasi-criminal in nature. See id. at 499–
23
     500 & n.16 (classifying local ordinance intended to discourage use of drug paraphernalia
24

25   as “quasi-criminal”). Indeed, if Plaintiffs, their members, or their patients fail to predict

26   how prosecutors may apply the Interpretation Policy to interpret “criminal provisions” in
27
     the abortion context, the consequences include prison sentences and loss of professional
28

                                                   -9-
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 13 of 23



 1   licensure. See id. at 498–99 (noting that less stringent vagueness review applies to
 2
     economic regulations and civil enactments where “the consequences of imprecision are
 3
     qualitatively less severe”). Thus, the most stringent vagueness review is warranted here.
 4

 5          b. The Interpretation Policy as Applied to Abortion Fails to Provide Fair
               Notice.
 6
            The Interpretation Policy fails to give constitutionally adequate notice of which
 7

 8   actions are permitted in the abortion context and which are not. To survive a vagueness

 9   challenge, a law must provide a “person of ordinary intelligence a reasonable opportunity
10
     to know what is prohibited, so that he may act accordingly.” Grayned v. City of Rockford,
11
     408 U.S. 104, 108 (1972). Under any standard of review, the Interpretation Policy fails.
12

13          First, the Interpretation Policy does not provide any guidance as to what it means to

14   “acknowledge” the equal rights of a fertilized egg, embryo, or fetus in the abortion context.
15
     Cf. Valle del Sol, Inc. v. Whiting, 732 F.3d 1006, 1019–20 (9th Cir. 2013) (holding phrase
16
     “in violation of a criminal offense . . . unintelligible and therefore . . . void for vagueness”
17

18   because the common usage of the term “offense” means an action and “one cannot violate,

19   or be in violation of, an action”); Forbes v. Napolitano, 236 F.3d 1009, 1012 (9th Cir.
20
     2000) (finding terms such as “investigation” and “routine” examination, which were
21
     undefined and had no independent medical meaning, to be inherently ambiguous in the
22

23   abortion context); In re Adoption of B.B., 2017 UT 59, ¶ 50, 417 P.3d 1, 19 (“We conclude

24   that the plain meaning of the terms [‘acknowledge’ and ‘establish’] is so broad that it offers
25
     little guidance . . . .”). It is unclear whether “acknowledging” that a fetus and a pregnant
26
     person have equal rights means that a person who has decided to terminate a pregnancy
27

28   may still do so, or whether a physician may still provide that person an abortion. The

                                                  - 10 -
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 14 of 23



 1   Interpretation Policy is also devoid of any instructions for what it requires should the rights
 2
     of an “unborn child” and a pregnant person conflict.
 3
            There are numerous other laws that could be interpreted to criminalize abortion care
 4

 5   under the Interpretation Policy’s “acknowledgment” mandate, including A.R.S. §§ 13-

 6   1204 (aggravated assault), 13-1203 (assault), 13-1201 (reckless endangerment),
 7
     13-3612(1) & 13-1613 (contributing to delinquency of a child), 13-3619 (child
 8
     endangerment), and 13-3623 (child abuse). In these statutes, and potentially many others,
 9

10   it is entirely unclear whether the Interpretation Policy’s mandate that they be “interpreted

11   and construed” to “acknowledge” that a fertilized egg, embryo, or fetus has the same rights
12
     as a “person” or “child” criminalizes the provision or receipt of abortion care.
13
            To illustrate, a person commits aggravated assault when “[i]ntentionally, knowingly
14

15   or recklessly causing any physical injury to another person,” A.R.S. § 13-1203(1), if “the

16   person is eighteen years of age or older and commits the assault on a minor under fifteen
17
     years of age,” id. § 13-1204(A)(6). Arizona has represented to the Court that the
18
     Interpretation Policy “is triggered” in this instance, Oral Arg. Tr. at 83, and because the
19

20   term “person” is used, a prosecutor has several choices: they may now construe the

21   Interpretation Policy to render abortion an aggravated assault, require some other action by
22
     the physician and patient not already required by Arizona law in order for the abortion to
23
     be lawful, or do nothing at all. Plaintiffs cannot know which option the prosecutor will
24

25   select. This is the very definition of an unconstitutionally vague law. 4

26

27   4
       Further adding to the confusion, Arizona’s homicide statutes include exceptions for
     abortion care and other medical treatment, see A.R.S. §§ 13-1102–05. While the homicide
28

                                                  - 11 -
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 15 of 23



 1          Next, it is entirely unclear how Plaintiffs are to reconcile the Interpretation Policy
 2
     with Arizona’s existing law permitting abortion up until viability, A.R.S. § 36-2301.01,5
 3
     or the host of Arizona laws that recognize and regulate the provision of legal abortion. See,
 4

 5   e.g., A.R.S. §§ 36-2155, 36-2153(E), 32-2531(B), 36-449.03(C)(3)(a)–(b) & Ariz. Admin.

 6   Code §§ R9-10-1501(1), R9-10-1507(B)(2)–(3) (licensing and credentialing requirements
 7
     for abortion providers); A.R.S. §§ 36-449.02, 36-449.03 & Ariz. Admin. Code §§ R9-10-
 8
     1513, R9-10-1515 (abortion clinic licensure requirements); A.R.S. §§ 36-2153 & 36-2156
 9

10   (abortion informed consent requirements); A.R.S. §§ 36-449.03(I), 36-2161–62 & Ariz.

11   Admin. Code § R9-10-1505(A) (abortion statistical and demographic data reporting
12
     requirements); A.R.S. § 13-3603.01 (second trimester abortion method restriction); A.R.S.
13
     § 13-3603.02(A) (ban on abortion for reasons of race or sex); A.R.S. § 36-2152 (consent
14

15   requirements for minors); A.R.S. § 36-3604 (restrictions on telemedicine for abortion

16   care). Because of the confusion and risk of liability unleashed by the Interpretation Policy,
17
     abortion providers do not know if they will be protected from criminal, civil, or
18
     professional liability if they conform their conduct to these laws.6
19

20
     statutes’ exceptions suggest a legislative intent to permit abortion, the aforementioned
21
     statutes do not contain similar carve-outs.
22
     5
      Even S.B. 1164—signed into law earlier this spring, but not expected to take effect until
23   early fall—will not prohibit all abortion care as the Interpretation Policy threatens to do.
24   Rather, S.B. 1164 permits abortion care up to 15 weeks from a pregnant person’s last
     menstrual period, and even after that point in cases of medical emergency. S.B. 1164, 55th
25   Leg., 2d Reg. Sess. (Ariz. 2022).
26   6
      Just as the Interpretation Policy could outlaw all abortion in Arizona, it could just as easily
27   have no substantive effect. Indeed, such a reading could “harmonize[]” the Interpretation
     Policy with Arizona’s existing extensive regulatory scheme governing abortion care by
28

                                                  - 12 -
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 16 of 23



 1          “It is a basic principle of due process that an enactment is void for vagueness if its
 2
     prohibitions are not clearly defined.” Grayned, 408 U.S. at 108. As evidenced by the
 3
     significant confusion and uncertainty detailed above, the Interpretation Policy, by its terms,
 4

 5   provides no insight into how Plaintiffs must conform their behavior in the abortion context

 6   to “acknowledge” that fertilized eggs, fetuses, and embryos have “equal rights” to people.
 7
     For this reason alone, it is unconstitutionally vague.
 8
            c. The Interpretation Policy Invites Arbitrary and Discriminatory
 9             Enforcement in the Abortion Context.
10
            The Interpretation Policy not only fails to give constitutionally adequate notice of
11
     how abortion care can be penalized, it also invites arbitrary and discriminatory enforcement
12

13   of criminal, civil, and professional penalties. The vagueness doctrine “guards against

14   arbitrary or discriminatory law enforcement by insisting that a statute provide standards to
15
     govern the actions of police, prosecutors, juries, and judges.” Dimaya, 138 S. Ct. at 1212.
16
     Although the vagueness doctrine “focuses both on actual notice to citizens and arbitrary
17

18

19
     “giv[ing] effect to both.” See Kenai Peninsula Borough v. Alaska, 612 F.2d 1210, 1214
20   (9th Cir. 1980), aff’d sub nom. Watt v. Alaska, 451 U.S. 259 (1981). It would also prevent
     conflict with the rest of the omnibus bill in which it was passed, which clearly contemplated
21
     continued legal abortion care. See S.B. 1457 §7(F) (creating rules for disposal of fetal tissue
22   after abortion care) and § 2 (prohibiting abortion based on a patient’s reason for seeking
     care). See Am. Vantage Cos. v. Table Mountain Rancheria, 292 F.3d 1091, 1098 (9th Cir.
23   2002) (“It is a well-established principle of statutory construction that ‘legislative
24   enactments should not be construed to render their provisions mere surplusage.’” (citation
     omitted)). Regardless, providers, like Drs. Isaacson and Reuss, need not risk their liberty
25   and professional licenses to discover which reading of the Interpretation Policy prevails. A
     plaintiff “does not have to await the consummation of threatened injury to obtain
26
     preventive relief. If the injury is certainly impending, that is enough.” Babbitt v. United
27   Farm Workers Nat. Union, 442 U.S. 289, 298 (1979) (citation omitted). Nor must a
     plaintiff violate an allegedly unconstitutional law to challenge its constitutionality. See,
28   e.g., MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 128–29 (2007).

                                                  - 13 -
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 17 of 23



 1   enforcement,” the Supreme Court has explained that “the more important aspect of
 2
     vagueness doctrine is . . . the requirement that a legislature establish minimal guidelines to
 3
     govern law enforcement.” Kolender v. Lawson, 461 U.S. 352, 357–58 (1983). Where the
 4

 5   “legislature fails to provide such minimal guidelines, a criminal statute may permit ‘a

 6   standardless sweep [that] allows policemen, prosecutors, and juries to pursue their personal
 7
     predilections.’” Id. at 358 (quoting Smith v. Goguen, 415 U.S. 566, 575 (1974)). That is
 8
     precisely what the Interpretation Policy does here.
 9

10          The Interpretation Policy provides no standards to guide the discretion of local

11   prosecutors, police officers, and other state enforcement officials in determining what the
12
     law means and how it is to be applied. By its own terms, the Interpretation Policy’s sole
13
     function is to create an “interpretive rule” that applies across the entire Arizona Revised
14

15   Statutes, but it lacks any explicit standards or “generally applicable test” that would clarify

16   its application in the abortion context. Johnson, 576 U.S. at 600. And, because of the
17
     Supreme Court’s decision in JWHO overturning Roe and Casey, there are no longer
18
     “decisional interpretations . . . by the United States Supreme Court,” A.R.S. § 1-219, that
19

20   could protect Drs. Isaacson and Reuss in the event a prosecutor decides to utilize the

21   Interpretation Policy to criminalize their provision of abortion care.7
22
            Without sufficient standards in the law to guide them, the Interpretation Policy
23
     ultimately leaves enforcement to the unlimited discretion of individual police officers,
24

25

26   7
      Drs. Isaacson and Reuss have similar fears in the event state licensing officials, such as
27   members of Defendant Arizona Medical Board, decide that the provision of abortion care
     warrants disciplinary action under the Interpretation Policy. Isaacson Decl. ¶¶ 13, 15;
28   Reuss Decl. ¶ 11.

                                                  - 14 -
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 18 of 23



 1   prosecutors, or licensing officials, who may differ significantly in their interpretation of
 2
     the law and how it is to be applied to abortion. Indeed, given that there are 15 County
 3
     Attorneys in Arizona, whether and how the Interpretation Policy applies to abortion care
 4

 5   could well be determined by a provider’s or patient’s zip code. Laws like the Interpretation

 6   Policy that leave “statutory gaps so large” that “police officers, prosecutors, and judges are
 7
     essentially defining crimes and fixing penalties” are unconstitutionally vague. Knox v.
 8
     Brnovich, 907 F.3d 1167, 1182 (9th Cir. 2018) (internal quotations and citations omitted).
 9

10   Legislators “may not ‘abdicate their responsibilities for setting the standards of the criminal

11   law’” in this way. Dimaya, 138 S. Ct. at 1227 (Gorsuch, J., concurring) (quoting Smith,
12
     415 U.S. at 575); see also id. at 1228 (legislative power emphatically does not belong with
13
     courts, police, and prosecutors). Where, as here, the statute does not provide sufficient
14

15   standards to govern its enforcement, it is void for vagueness.

16      D. Plaintiffs Continue to Suffer Irreparable Harm Absent Injunctive Relief.
17          The Interpretation Policy’s vagueness violates the due process rights of Plaintiffs,
18
     their members, and their patients by creating uncertain legal obligations and threatening
19
     them with arbitrary prosecutions in the abortion context. This continuing constitutional
20

21   violation alone constitutes irreparable harm sufficient to justify injunctive relief. Planned

22   Parenthood Ariz., Inc. v. Humble, 753 F.3d 905, 911 (9th Cir. 2014) (“[T]he deprivation
23
     of constitutional rights ‘unquestionably constitutes irreparable injury.’” (quoting
24
     Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012))); see also Valle del Sol, 732 F.3d
25

26   at 1029 (credible threat of prosecution under statute challenged as void for vagueness

27   established likelihood of irreparable harm).
28

                                                  - 15 -
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 19 of 23



 1          As applied to abortion, the Interpretation Policy’s harms are especially acute.8 Given
 2
     the Interpretation Policy’s vagueness, Drs. Isaacson and Reuss credibly fear prosecution
 3
     and therefore have ceased providing any abortion care in Arizona. Isaacson Decl. ¶¶ 12–
 4

 5   13, 15–16; Reuss Decl. ¶¶ 13, 15. Without injunctive relief, the Interpretation Policy will

 6   at minimum delay—but more likely deprive—Arizonans of access to abortion care. And,
 7
     because abortion care is time-sensitive medical care that “simply cannot be postponed,”
 8
     Bellotti v. Baird, 443 U.S. 622, 643 (1979), the presumption of irreparable harm applies
 9

10   with particular force here, see Humble, 753 F.3d at 911. See also, e.g., Harris v. Bd. of

11   Supervisors, 366 F.3d 754, 766 (9th Cir. 2004) (establishing likelihood of irreparable harm
12
     upon showing that plaintiffs would experience pain, complications, and other adverse
13
     effects from delayed medical treatment).
14

15       E. Balance of Equities Strongly Tips in Plaintiffs’ Favor.

16          While Plaintiffs, their members, and their patients stand to suffer real and
17
     irreparable harm if the Interpretation Policy is not enjoined as applied to abortion care,
18
     Defendants only stand to lose their ability to enforce the Interpretation Policy until such
19

20   time as the courts assess the constitutionality of that enforcement. See Latta v. Otter, 771

21   F.3d 496, 500 n.1 (9th Cir. 2014) (“No opinion for the Court adopts [the] view” that “a
22
     state suffers irreparable injury when one of its laws is enjoined.”). And to the extent the
23
     Interpretation Policy is merely precatory—a fact that was central to the Supreme Court’s
24

25

26   8
       While Plaintiffs at this time seek emergency relief from the Interpretation Policy because
27   of the immediate harms it poses to abortion care specifically, all other harms previously
     identified by Plaintiffs remain ongoing. See Compl., ECF No. 1; Mot. for Prelim. Inj., ECF
28   No. 10.

                                                 - 16 -
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 20 of 23



 1   decision in Webster but contrary to the facts here—a preliminary injunction causes the
 2
     State even less harm, as the law need not be “effectuat[ed]” to serve its purpose. Cf. New
 3
     Motor Vehicle Bd. of Cal. v. Orrin W. Fox Co., 434 U.S. 1345, 1351 (1977).
 4

 5          Further, a grant of the limited relief requested here would merely preserve the status

 6   quo for the state of abortion care pending Plaintiffs’ cross-appeal. See Nat. Res. Def.
 7
     Council, Inc. v. Sw. Marine Inc., 242 F.3d 1163, 1166 (9th Cir. 2001) (modification of
 8
     order appropriate pending appeal in order to preserve the status quo); see also Marlyn
 9

10   Nutraceuticals, Inc. v. Mucos Pharma GmbH & Co., 571 F.3d 873, 879 (9th Cir. 2009)

11   (the status quo is “the last, uncontested status which preceded the pending controversy”).
12
            Finally, granting injunctive relief “is always in the public interest,” where—as
13
     here—it “prevent[s] the violation of a party’s constitutional rights.” See Melendres, 695
14

15   F.3d at 1002. The balance of hardships thus tips sharply toward Plaintiffs.

16          CONCLUSION
17          Plaintiffs respectfully request that the Court issue an injunction of the Interpretation
18
     Policy as applied to abortion care pending resolution of Plaintiffs’ cross-appeal before the
19
     Ninth Circuit. In the alternative, Plaintiffs request that the Court issue an even more limited
20

21   injunction of the Interpretation Policy as applied to abortion to allow Plaintiffs to seek relief
22   from the Ninth Circuit under Federal Rule of Appellate Procedure 8(a)(2). Finally, in view
23
     of the significant, ongoing harms currently inflicted on Plaintiffs, their members, and their
24
     patients, Plaintiffs further request that the Court expedite the briefing schedule for this
25

26   motion, see LRCiv 7.2, and expedite the decision on Plaintiffs’ request.
27

28

                                                   - 17 -
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 21 of 23



 1   Dated: June 25, 2022
 2
     By: /s/ Jessica Sklarsky
 3
     Jessica Leah Sklarsky, pro hac vice
 4
     Gail Deady, pro hac vice
 5   Catherine Coquillette, pro hac vice
     Center For Reproductive Rights
 6   199 Water Street, 22nd Floor
 7   New York, NY 10038
     Telephone: (917) 637-3600
 8   jsklarsky@reprorights.org
     gdeady@reprorights.org
 9
     ccoquillette@reprorights.org
10
     Jen Samantha D. Rasay, pro hac vice
11   Center For Reproductive Rights
12   1634 Eye Street, NW, Suite 600
     Washington, DC 20006
13   Telephone: (202) 628-0286
     jrasay@reprorights.org
14

15   Counsel for Paul A. Isaacson, M.D.,
     National Council of Jewish Women
16   (Arizona Section), Inc., and Arizona
17   National Organization for Women

18   Jared Keenan (027068)
     Victoria Lopez (330042)
19
     American Civil Liberties Union Foundation
20   of Arizona
     3707 North 7th Street, Suite 235
21   Phoenix, AZ 85014
22   Telephone (602) 650-1854
     jkeenan@acluaz.org
23   vlopez@acluaz.org
     Counsel for Plaintiffs
24

25   COUNSEL CONTINUED
     ON NEXT PAGE
26

27

28

                                            - 18 -
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 22 of 23



 1   Alexa Kolbi-Molinas, pro hac vice
     Rebecca Chan, pro hac vice
 2
     American Civil Liberties Union
 3   125 Broad Street, 18th Floor
     New York, NY 10004
 4   Telephone: (212) 549-2633
 5   akolbi-molinas@aclu.org
     rebeccac@aclu.org
 6   Counsel for Eric M. Reuss M.D., M.P.H.,
     and Arizona Medical Association
 7

 8   Beth Wilkinson, pro hac vice
     Anastasia Pastan, pro hac vice
 9   Wilkinson Stekloff LLP
10   2001 M Street, NW
     10th Floor
11   Washington, DC 20036
     Telephone: (202) 847-4000
12
     bwilkinson@wilkinsonstekloff.com
13   apastan@wilkinsonstekloff.com
     Counsel for Paul A. Isaacson, M.D.,
14   National Council of Jewish Women
15   (Arizona Section), Inc., and Arizona
     National Organization for Women
16
     Ralia Polechronis, pro hac vice
17
     Wilkinson Stekloff LLP
18   130 West 42nd Street
     24th Floor
19   New York, NY 10036
20   Telephone: (212) 294-9410
     rpolechronis@wilkinsonstekloff.com
21   Counsel for Paul A. Isaacson, M.D.,
     National Council of Jewish Women
22
     (Arizona Section), Inc., and Arizona
23   National Organization for Women
24

25

26

27

28

                                               - 19 -
     Case 2:21-cv-01417-DLR Document 107 Filed 06/25/22 Page 23 of 23



 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that on June 25, 2022, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing. All counsel of record
 4   are registrants and are therefore served via this filing and transmittal.
 5

 6                                                             /s/ Jessica Sklarsky
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                  - 20 -
